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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

               Plaintiffs,
                                                 Case No. 8:19-cv-710-MSS-TGW
        v.

  BRIGHT HOUSE NETWORKS, LLC,

             Defendant.
  _________________________________/

             NON-PARTY MARKMONITOR’S MOTION TO REDACT
              PORTIONS OF JULY 12, 2022 HEARING TRANSCRIPT

        Pursuant to Local Rule 1.11 and this Court’s instruction at ECF No. 666, Non-

  Party MarkMonitor, Inc. (“MarkMonitor”) respectfully requests that the Court redact

  certain limited portions of the transcript of the July 12, 2022 hearing before Judge

  Mary S. Scriven (the “July 12 Transcript”). See ECF No. 666. In support of this

  motion, MarkMonitor states as follows:

        1.     On July 12, 2022, this Court held a hearing in this matter concerning

  Defendant Bright House Networks, LLC’s (“BHN”) motion for sanctions against

  Plaintiffs pursuant to Fed. R. Civ. P. 37(c) (ECF No. 471) and certain source code

  discovered by non-party MarkMonitor, Inc. (“MarkMonitor”). See ECF No. 666. At

  the hearing, the parties and the Court discussed MarkMonitor’s source code in detail,

  including the functionality and operation of certain portions of the code, as well as the




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  contractual relationship between Plaintiffs and MarkMonitor. See id. at 9, 12, 15-16,

  30–34.

        2.       The instant motion requests that the following pages and lines of the July

  12 Transcript (ECF No. 666) be redacted from the publicly available transcript: 9:3-

  12; 12:8-12; 15:8-15, 19-24; 16:3-8; 31:9-15; 32:4-8, 23-25; and 33:3-11, 15-21 (the

  “Proposed Redactions”).       The motion further requests that the full, unredacted

  transcript be maintained under seal.

        3.       MarkMonitor’s Proposed Redactions reveal confidential and proprietary

  information regarding MarkMonitor’s source code and the contractual relationship

  between Plaintiffs and MarkMonitor. Though MarkMonitor lacks access to the

  unredacted versions of most of the motions and exhibits filed herein, MarkMonitor is

  informed and believes that the Court has previously held that this confidential

  information should be maintained under seal. See, e.g., ECF No. 566 at 9, 13.

        4.       The risk of competitive or financial harm to MarkMonitor from

  disclosure outweighs the need for the public to have access to this confidential

  information.     The information contained in the Proposed Redactions would be

  harmful in the hands of competitors and is not necessary or substantially informative

  for the general public to understand or evaluate the issues between the parties. See

  Proxicom Wireless, LLC v. Macy’s, Inc., No. 6:18-CV-64-ORL-37GJK, 2018 WL

  8344645, at *2 (M.D. Fla. Oct. 29, 2018) (granting in part motion to seal where

  allowing access to exhibits would harm the designating party’s “legitimate privacy

  interests by exposing its business and financial information to the public, including

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  competitors,” causing them substantial injury). This is especially true given that the

  parties have settled this litigation, the case has been dismissed with prejudice, and no

  dispute remains.

         5.     Counsel for MarkMonitor, Andrew Castricone, unfortunately passed

  away on July 16, 2022, shortly before the Notice of Transcript was posted on July 18,

  2022. See ECF No. 666, 667. Due to the circumstances, there was a transition of

  counsel for MarkMonitor. The undersigned counsel did not have even a partial

  version of the July 12 Transcript until July 31, 2022, when BHN served MarkMonitor

  with an unredacted version of its Motion for Reconsideration (ECF No. 695) to which

  a portion of the transcript was attached. MarkMonitor did not have the full version of

  the July 12 Transcript until it was provided by counsel for Plaintiffs on August 8, 2022.

         6.     On July 25, 2022, Plaintiffs notified the Court of their intent to request

  redaction of the July 12 Transcript. See ECF No. 694. The undersigned counsel did

  not learn until August 8, 2022 that notwithstanding the foregoing, Plaintiffs would not

  be filing any such request and that non-party MarkMonitor would instead need to do

  so.   Accordingly, while MarkMonitor did not file a notice of intent to request

  redaction, good cause exists to accept this motion based upon the notice provided by

  Plaintiffs.

         7.     For the foregoing reasons, MarkMonitor respectfully requests that the

  Court grant this motion and redact pages and lines 9:3-12; 12: 8-12; 15:8-15, 19-24;

  16:3-8; 31:9-15; 32: 4-8, 23-25; and 33:3-11, 15-21, from the publicly available




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  transcript of the July 12 hearing (ECF No. 666), and that the unredacted transcript be

  maintained under seal.

                      LOCAL RULE 3.01(g) CERTIFICATION

        MarkMonitor’s counsel learned of this deadline today and did not have time to

  confer with Defendant’s counsel, however, with respect to another motion

  MarkMonitor is filing today, Defendant’s counsel informed MarkMonitor’s counsel

  that she could not speak with her client about the motion until tomorrow.

  MarkMonitor therefore believes Defendant’s counsel’s response would be the same

  with respect to this motion. MarkMonitor’s counsel certifies that they conferred with

  Counsel for the Plaintiffs, who indicated Plaintiffs have no objection regarding the

  filing of MarkMonitor’s instant Motion.

        Respectfully submitted this 8th day of August, 2022.


                                         GORDON REES SCULLY
                                         MANSUKHANI, LLP
                                         Miami Tower
                                         100 SE Second Street, Suite 3900
                                         Miami, FL 33131
                                         Telephone: (305) 428-5330
                                         Facsimile: (877) 634-7245

                                         /s/ Chantel C. Wonder
                                         Chantel C. Wonder
                                         Florida Bar No. 87601
                                         cwonder@grsm.com
                                         Racquel A. White
                                         Florida Bar No. 392669
                                         rwhite@grsm.com
                                         Counsel for Non-Party MarkMonitor, Inc.


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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 8, 2022, I caused the foregoing

  document to be filed electronically with the Clerk of the Court using the CM / ECF

  system, which will send a notice of electronic filing to all counsel of record

  registered with CM / ECF.

  Dated: August 8, 2022

                                       /s/ Chantel C. Wonder ____
                                       Chantel C. Wonder, Esq.,
                                       Attorney for MarkMonitor, Inc.



  Service List:

  Attorneys for Defendant:

  Andrew H. Schapiro
  QUINN EMANUEL URQUHART
  & SULLIVAN, LLP
  191 N. Wacker Drive, Suite 2700
  Chicago, IL 60606
  Telephone: (312) 705-7400
  andrewschapiro@quinnemanuel.com

  Charles K. Verhoeven
  David Eiseman
  Linda J. Brewer
  QUINN EMANUEL URQUHART
  & SULLIVAN, LLP
  50 California Street, 22nd Floor
  San Francisco, CA 94111
  Telephone: (415) 875-6600
  charlesverhoeven@quinnemanuel.com
  davideiseman@quinnemanuel.com


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  lindabrewer@quinnemanuel.com

  Michael S. Elkin
  WINSTON & STRAWN LLP
  200 Park Avenue
  New York, NY 10166
  Telephone: (212) 294-6700
  melkin@winston.com

  Jennifer A. Golinveaux
  WINSTON & STRAWN LLP
  101 California Street, 35th Floor
  San Francisco, CA 94111
  jgolinveaux@winston.com

  William J. Schifino, Jr.
  Florida Bar No. 564338
  GUNSTER, YOAKLEY & STEWART, P.A.
  401 E. Jackson St., Ste. 2500
  Tampa, FL 33602
  Telephone: (813) 228-9080
  bschifino@gunster.com


  Attorneys for Plaintiffs:

  Matthew J. Oppenheim
  Jeffrey M. Gould
  OPPENHEIM + ZEBRAK, LLP
  4530 Wisconsin Ave. NW, 5th Fl.
  Washington, DC 20016
  Telephone: (202) 621-9027
  matt@oandzlaw.com
  jeff@oandzlaw.com

  Neema T. Sahni
  COVINGTON & BURLING LLP
  1999 Avenue of the Stars, Suite 3500
  Los Angeles, CA 90067-4643
  Telephone: (424) 332-4800
  nsahni@cov.com



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  Jonathan M. Sperling
  COVINGTON & BURLING LLP
  The New York Times Building
  620 Eighth Avenue
  New York, NY 10018-1405
  Telephone: (212) 841-1000
  jsperling@cov.com

  David C. Banker
  Florida Bar No. 0352977
  Bryan D. Hull
  Florida Bar No. 020969
  BUSH ROSS, P.A.
  1801 North Highland Avenue
  P.O. Box 3913
  Tampa, FL 33601-3913
  Telephone: (813) 224-9255
  dbanker@bushross.com
  bhull@bushross.com




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